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               ViaECF

               Hon. Gary R. Brown
               United States District Court
               Eastern District of New York
               100 Federal Plaza
               Central Islip, New York 11722-9014

                            Re:   Noghreh, et al. v. Village of Kings Point, et al., Case No. 24-cv-07209-GRB-ST

               Dear Judge Brown,

                       This firm has been retained by Defendants Daniel Kamali and Megan Kamali 1
               (collectively, "DK Defendants") in connection with this matter. Through this letter, the DK
               Defendants respectfully set forth their opposition to the letter brief filed on October 19, 2024 by
               Plaintiffs Arman Noghreh and Mojdeh Noghreh (collectively, "Plaintiffs"), pursuant to this
               Court's Order dated October 15, 2024. We note that the DK Defendants have not been served
               with process in this matter, and they reserve their right to raise any jurisdictional defenses as
               may be appropriate should this Court determine that it has subject matter jurisdiction over
               Plaintiffs' claims.

                        Plaintiffs were directed to file a letter brief "setting forth specific facts and authorities
               that support the exercise of jurisdiction in this matter." Plaintiffs have ignored the Court's clear
               mandate, citing to only one authority in which subject matter jurisdiction was at issue, namely
               Local 342, Long Island Pub. Serv. Emps., UMD, ILA, AFL-CIO v. Town Bd. of Huntington, 31
               F.3d 1191 (2d Cir. 1994). There, the Second Circuit affirmed the District Court's dismissal of
               the complaint due to lack of subject matter jurisdiction. Id. at 1192. Plaintiffs make no attempt
               to tie the over 30 authorities cited in their letter brief to the specific facts of this case because
               they cannot. Instead, Plaintiffs improperly attempt to litigate the issue of injunctive relief, which
               is not at issue, as the Court has already denied Plaintiffs' Order to Show Cause upon correctly
               determining that Plaintiffs can show no irreparable harm.

               1
                   Defendant Megan Kamali has been incorrectly sued herein as "Meghan" Kamali.
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          Federal courts are courts of limited jurisdiction and "may not preside over cases if they
  lack subject matter jurisdiction." Gamarra v. Paul, No. 24-CV-6167, 2024 U.S. Dist. LEXIS
   18917 6, *8 (E.D .N. Y. Oct. 17, 2024) (Brown, J. ). Plaintiffs' Complaint alleges the existence of
  federal question jurisdiction under 28 U.S.C. §§ 1331, 1343, and 42 U.S.C. §§ 1983, 1985, and
   1986. As the Second Circuit has recently reaffirmed, a cause of action "arises under federal law
  when federal law creates the cause of action asserted." Sunvestment Energy Grp. NY 64 LLC v.
  Natl. Grid USA Servs. Co., Docket No. 23-1213, 16 F.4th 106, 2024 U.S. App. LEXIS 22690 at
  *15 (2d Cir. Sept. 6, 2024), citing Gunn v. Minton, 568 U.S. 251, 257 (2013). The presence or
  absence of federal question jurisdiction is "governed by the 'well-pleaded complaint rule,' which
  provides that federal question jurisdiction exists only when a federal question is presented on the
  face of the plaintiffs properly pleaded complaint." Gamarra, 2024 U.S. Dist. LEXIS 189176 at
  *9, quoting Whitehurst v. 1199 SEIU United Healthcare Workers E., 928 F.3d 201, 206 (2d Cir.
  2019). Simply mentioning a federal statute is insufficient to invoke this Court's subject matter
  jurisdiction. Gamarra, 2024 U.S. Dist. LEXIS at *10. Yet that is all Plaintiffs do here, and that is
  simply not enough to bring the Complaint within the Court's jurisdiction.

          Although the Complaint is difficult to parse and fails to label any of the individual causes
  of action, Plaintiffs' First Cause of Action appears to allege taking of their property in violation
  of 42 U.S.C. § 1983 and the Fifth and Fourteenth Amendments to the United States Constitution.
  To the extent any of Plaintiffs' causes of action are brought pursuant to 42 U.S.C § 1983, they
  cannot be maintained against the DK Defendants, who are private citizens rather than state
  actors. Section 1983 "provides a right of action against any person who 'under color of state law
  subjects another person to a 'deprivation of any rights, privileges, or immunities secured by the
  Constitution and laws."' Carlos v. Santos, 123 F.3d 61, 64 (2d Cir. 1997), citing Section 1983.

          Even if the DK Defendants were state actors, the Court would lack jurisdiction over
  Plaintiffs' claims. A taking occurs when private property is taken for public use without just
  compensation. Buffalo Teachers Fed. v. Tobe, 464 F.3d 362, 373 (2d Cir. 2006). There are two
  types of takings: (i) physical takings, which occur "when the government physically takes
  possession of an interest in property for some public purpose"; and (ii) regulatory takings, such
  as "when the government bans certain uses of private property" or "limits the rent a landlord
  may charge tenants" or "prohibits landlords from evicting tenants from refusing to pay higher
  rents." Id. at 374.

          The Complaint alleges neither species of taking, instead alleging that due to an inaccurate
  survey, the DK Defendants are encroaching onto Plaintiffs' land by anywhere from three to four
  feet. See Complaint at ,r,r 43, 83, 84. Again, the DK Defendants are not state actors, and nowhere
  do Plaintiffs allege that their land was taken for public use. Simply alleging that Defendant
  Daniel Kamali's mother, Defendant Sandy Kamali, is a member of the Village of Kings Point
  Architectural Review Board, does not convert the alleged encroachment by the DK Defendants
  into state action; otherwise, every person related to someone with a government job would be a
  state actor. Moreover, as Plaintiffs correctly allege, the DK Defendants, and not Sandy Kamali,
  own the DK Defendants' home, located at 238 Kings Point Road, Kings Point, New York. See
  Complaint at ,r,r 35, 36. Thus, Plaintiffs' "taking" claim is nothing more than a garden variety
  boundary dispute between Plaintiffs and the DK Defendants. Boundary disputes are "a matter
  traditionally within the purview of state courts," and do not fall within the jurisdiction of a
  federal district court. Simmons v. Wetherell, 472 F.2d 509, 512 (2d Cir. 1973); see also Gounden
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  v. Campagna, 487 Fed. App'x. 624, 627 (2d Cir. 2012) (rejecting attempt to "recharacterize
  neighborhood property dispute as a series of constitutional injuries").

          Plaintiffs' Second Cause of Action alleges a violation of due process under 42 U.S.C.
  § 1983, namely, that "Defendants never provided Plaintiffs with any meaningful notice and a
  pre-deprivation hearing before threatening to take their property or right to due process to be
  heard at an open meeting as prescribed by the open meetings law." Complaint 1 158 (emphasis
  added). First, for the reasons stated above, this claim cannot be alleged against the DK
  Defendants because they are not state actors and could have had no obligation to provide
  Plaintiffs with notice of a "threatened" taking that never occurred. Second, a violation of New
  York State's Open Meetings Law, codified at Article 7 of the Public Officers Law, plainly does
  not raise a federal question that may be litigated in this case. Indeed, § 107(1) of the Open
  Meetings Law provides for enforcement by way of a Civil Practice Law and Rules Article 78
  proceeding in state court.

          While there is a category of state law claims that confer federal question jurisdiction,
  none are raised by Plaintiffs' Second Cause of Action. State law claims conferring federal
  jurisdiction "must contain a federal issue that is (1) necessarily raised, (2) actually disputed, (3)
  substantial, and (4) capable of resolution in federal court." Sunvestment Energy Grp., 2024 U.S.
  App. LEXIS at* 15. "All four requirements must be met for federal jurisdiction to be proper." Id.
  Because Plaintiffs' Second Cause of Action alleges only a "threatened" taking (which taking
  never occurred) and a violation of New York State's Open Meetings Law, no federal issue is
  "necessarily raised." Therefore, the Court lacks jurisdiction over Plaintiffs' Second Cause of
  Action.

         Similarly, Plaintiffs' equal protection claims cannot be asserted against private citizens
  such as the DK Defendants and therefore need not be addressed herein. See City of Cleburne v.
  Cleburne Living Ctr., 473 U.S. 432, 439 (1985) (observing Equal Protection Clause of
  Fourteenth Amendment "commands that no State shall deny to any person within its jurisdiction
  the equal protection of the laws"); Zaidi v. Amerada Hess Corp., 723 F. Supp. 2d 506, 518 n.3
  (E.D.N.Y. 2010) ("purely private action" is not covered by equal protection clause).

          Finally, Plaintiffs' allegation of a conspiracy under 42 U.S. § 1985, as alleged against the
  DK Defendants, must fail because, for the reasons set forth above, Plaintiffs have not alleged
  any actionable interference by the DK Defendants with any of Plaintiffs' cognizable federal
  rights. R-Goshen LLC v. Vil!. of Goshen, 289 F. Supp. 2d 441,455 (S.D.N.Y. 2003).

          For all of the foregoing reasons, it is respectfully submitted that the Court lacks subject
  matter jurisdiction over Plaintiffs' claims as alleged against the DK Defendants. We thank the
  Court for this opportunity to be heard.

                                                        Respectfully yotrr~/? _
                                                        ~ a,Mbr~ JV¼-v
                                                        ELIZABETH TOBIO

  Encls. (Copies of unreported cases cited herein)
